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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                   Claude Michael Barrs,
                       Plaintiff
                          v.                                       ) Civil Action No.              1:22-cv-03463-JD
  Berkeley County; Berkeley County Sheriff’s Office;               )
           Jeffery Dean Hanna Individually,                        )
                                                                   )
                                                                   )

                           Defendants.


                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 ’ the plaintiff (name)          recover from the defendant (name)             the amount of                          dollars ($ ),
which includes prejudgment interest at the rate of   %, plus postjudgment interest at the rate of                   %, along with
costs.

O The plaintiff, Claude Michael Barrs, shall take nothing of the defendants, Berkeley County, Berkeley County
Sheriff’s Office and Jeffery Dean Hanna Individually and this action is dismissed without prejudice.


This action was (check one):

’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Court, the Honorable Judge Joseph Dawson, III, United States District Judge, presiding, adopting the
Report and Recommendation of the Honorable Shiva V. Hodges, United States Magistrate Judge, which recommended
dismissing the complaint for failure to prosecute.

Date: May 4, 2023                                                          ROBIN L. BLUME, CLERK OF COURT


                                                                                                  s/L. Baker
                                                                                        Signature of Clerk or Deputy Clerk
